Case 4:23-cv-03560   Document 271-6   Filed on 06/20/25 in TXSD   Page 1 of 4




                     Exhibit E
  Case 4:23-cv-03560        Document 271-6        Filed on 06/20/25 in TXSD        Page 2 of 4




                                          May 28, 2025



Via Electronic Mail

Michael Arin
Federal Trade Commission
Bureau of Competition
Health Care Division
400 7th Street, S.W.
Washington, D.C. 20024
nperlman@ftc.gov

       Re:      FTC v. U.S. Anesthesia Partners, Inc., Case No. 4:23-cv-03560 (S.D. Tex.)

Dear Michael:

        We write in response to your letter of April 30, 2025, regarding U.S. Anesthesia Partners,
Inc.’s (“USAP”) Objections and Responses to the FTC’s First Set of Requests for Admission.

         We disagree with the FTC’s characterizations of USAP’s responses. A number of the
FTC’s complaints center on the distinctions between the various legal entities at issue in this
litigation. For example, the FTC takes issue with USAP’s response to Request No. 2, which
asked USAP to admit that “USAP provides Anesthesia Services in the United States.” As we
have explained on multiple occasions in the course of this litigation, including through corporate
testimony, USAP does not provide clinical services, and it thus denied this request. Moreover,
USAP’s response to Request No. 3 made clear the reason for this denial. USAP admitted that,
while USAP does not provide clinical services, U.S. Anesthesia Partners of Texas, P.A. (“USAP
Texas”), provides anesthesia services in Texas.

        Similarly, the FTC’s complaints about USAP’s responses to requests relating to the
January 6, 2014 agreement among USAP, Pinnacle Anesthesia Associates, P.A., Envision
Healthcare Holdings, Inc., and Emcare, Inc. are unfounded. In several requests in the range of
Request Nos. 78-93, the FTC extracted isolated language from a complex, multipage contract,
with attachments, and asked USAP to “admit” to these isolated contractual “requirements.”
USAP properly directed the FTC to the language of the contract itself, which spells out what the
parties actually agreed to, and the specific provisions that governed the parties’ contract.
  Case 4:23-cv-03560        Document 271-6        Filed on 06/20/25 in TXSD        Page 3 of 4




Letter to M. Arin
May 28, 202
Page 2


         USAP likewise disagrees with the FTC’s position that it has improperly denied that it
“acquired” certain practices, but has rather admitted that it hired, as new employees, personnel
affiliated with those former practices. See Responses to Request Nos. 36, 39-41. Although the
parties may have, at times, referred to such arrangements as acquisitions, the caselaw makes
clear that there is a legally meaningful distinction between a company’s growth through mergers,
asset purchases, or acquisition of stock or other equity, on the one hand, and its growth through
the hiring (i.e., the “acquiring”) of new employees, on the other. See, e.g., Saint Francis Hosp.
& Med. Ctr v. Hartford Healthcare Corp., 655 F. Supp. 3d 52, 78 (D. Conn. 2023). USAP’s
responses to the requests thus draw this distinction, consistent with its earlier responses to the
FTC’s interrogatories. See USAP Objections and Responses to Interrogatory Nos. 6, 7 (Nov. 18,
2024). Moreover, in the course of this litigation and the preceding investigation, the way in
which new employees have joined USAP Texas has been clear, and the FTC cannot claim any
prejudice. Among other things, USAP produced the closing binders relating to all of the
transactions during the investigative stage of this matter. See USAP-FTC-CID-00149682
through USAP-FTC-CID-00273156.

        USAP’s response to Paragraph 141 of the Complaint is not to the contrary. There, USAP
interpreted the term “acquire” – which is not defined in the Complaint – as covering USAP
Texas’s acquiring employees of BMW Physicians and Medical City Physicians. The FTC’s
Requests for Admission have now defined the term differently, and USAP responded according
to that definition and the facts known to it. Nevertheless, to avoid any confusion, USAP will
seek leave to make a minor amendment to Paragraph 141 of its Answer, so that the answer to
that paragraph states as follows:

       141. USAP interprets “BMW Anesthesiology” as referencing “BMW Physicians.”
       USAP denies that it acquired BMW Physicians or Medical City Physicians, interpreting
       the term “acquire” to mean that a former practice was subject to a merger, an asset
       purchase, or an acquisition of stock or other equity. USAP admits that U.S. Anesthesia
       Partners of Texas, P.A., hired, as new employees, personnel formerly affiliated with
       BMW Physicians and Medical City Physicians, and that in connection with the hiring of
       these new employees, cash and stock payments in the referenced amounts were made.

       Please let us know if the FTC will consent to this amendment. USAP transmits herewith
amended responses to the FTC’s requests for admission, in an effort to avoid needlessly
burdening the Court with discovery disputes. We are, of course, available to discuss any of the
foregoing at your convenience.
  Case 4:23-cv-03560   Document 271-6   Filed on 06/20/25 in TXSD     Page 4 of 4




Letter to M. Arin
May 28, 202
Page 3

                                          Very truly yours,

                                          /s/ Rebecca A. Beynon

                                          Rebecca A. Beynon

                                          Counsel for Defendant U.S. Anesthesia
                                          Partners, Inc.
